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                          UNITED STATES v. BRIAN DENNISON

                                 SYNOPSIS – COMPLAINT


Name:                                   Brian Dennison

Address:                                Buxton, Maine
(City & State Only)

Year of Birth and Age:                  1996 (24 years old)

Violations:                             Count 1:         Transmitting threatening interstate
                                                         communication.
                                                         18 U.S.C. § 875(c).

Penalties:                              Count 1:         Class D felony. Not more than 5 years
                                                         imprisonment, and/or not more than a
                                                         $250,000 fine.
                                                         18 U.S.C. § 875(c).

Supervised Release:                     Count 1:         Not more than 3 years.
                                                         18 U.S.C. § 3583(b)(2).

Maximum Term of Imprisonment for        Count 1:         Not more than 2 years.
Violation of Supervised Release:                         18 U.S.C. § 3583(e)(3).

Maximum Additional Term of              Count 1:         Not more than 3 years less term of
Supervised Release for Violation of                      imprisonment imposed upon
Supervised Release:                                      revocation.
                                                         18 U.S.C. § 3583(h).

Defendant’s Attorney:                   Thomas Hallett, Esq.

Primary Investigative Agency and Case   FBI
Agent Name:                             Task Force Officer Jonathan A. Duquette

Detention Status:                       Probable cause arrest was made on 9/11/2021, detention
                                        motion to be filed.

Foreign National:                       No

Foreign Consular Notification Provided: N/A

County:                                 York
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AUSA:                                 Craig M. Wolff

Guidelines apply? Y/N                 Yes

Victim Case:                          No

Corporate Victims Owed Restitution:   N/A

Assessments:                          $100.
                                      18 U.S.C. § 3013(a)(2)(A).
